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                  EXHIBIT D
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              11

              12
                                               UNITED STATES DISTRICT COURT
              13
                                             NORTHERN DISTRICT OF CALIFORNIA
              14

              15        TARGET CORP.,
                                                                           Case No.
              16                                      Plaintiff,
                        v.
              17                                               COMPLAINT [REDACTED]
                        TECHNICOLOR SA (f/k/a THOMSON SA);
              18        TECHNICOLOR USA, INC. (f/k/a THOMSON
                        CONSUMER ELECTRONICS,
              19        INC.);VIDEOCON INDUSTRIES, LTD.;
                        TECHNOLOGIES DISPLAYS AMERICAS LLC JURY TRIAL DEMANDED
              20        (f/k/a THOMSON DISPLAYS AMERICAS LLC);
                        MITSUBISHI ELECTRIC CORPORATION;
              21        MITSUBISHI ELECTRIC VISUAL SOLUTIONS
                        AMERICA, INC.; and MITSUBISHI ELECTRIC
              22        & ELECTRONICS USA, INC.,

              23                                      Defendants.

              24               Plaintiff, Target Corp. (“Target”), submits this Complaint against all Defendants named

              25        herein, and hereby alleges as follows:

              26       I.            INTRODUCTION

              27                     1.       Target brings this action to recover damages to Target caused by a long-

              28        running conspiracy that began on or about March 1, 1995, through at least November 25, 2007
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                   1   (the “Relevant Period”), and was conducted by an international cartel formed by Defendants and
                   2   their co-conspirators. The purpose and effect of this conspiracy was to fix, raise, stabilize and
                   3   maintain prices for cathode ray tubes (“CRTs”).
                   4                2.       Defendant Technicolor SA, which during the Relevant Period was
                   5   known as Thomson SA, has admitted that it participated in the conspiracy to fix the prices of
                   6   CRTs. In its 2011 Annual Report to shareholders, Technicolor SA stated that it “played a
                   7   minor role in the alleged anticompetitive conduct [regarding CRTs].” Target disputes that
                   8   Technicolor SA’s role in the conspiracy was minor, and Target believes that discovery in this case
                   9   to date has demonstrated, and further discovery will demonstrate, that Technicolor SA played a
              10       substantial role in fixing the prices of CRTs. Following an investigation lasting four years, in
              11       December 2012 the European Commission levied a fine of €38.6 million against Technicolor
              12       SA for participating in a conspiracy to fix CRT prices. In its 2012 Annual Report, Technicolor
              13       SA acknowledged that “[f]ollowing the European Commission decision, purchasers may bring
              14       individual claims against the Company seeking compensation for alleged loss suffered as a
              15       result of the anti-competitive conduct.”
              16                    3.       Defendants and their co-conspirators are or were among the leading
              17       manufacturers of: (a) color picture tubes (“CPTs”), which are CRTs used primarily in color
              18       televisions; (b) color display tubes (“CDTs”), which are CRTs used primarily in color computer
              19       monitors; and (c) electronic devices containing CPTs (such as televisions) or CDTs (such as
              20       computer monitors). For the purposes of this Complaint, CPTs of all sizes and the products
              21       containing them shall be referred to collectively as “CPT Products.” Also for the purposes of
              22       this Complaint, CDTs of all sizes and the products containing them shall be referred to as “CDT
              23       Products.” CDT Products and CPT Products shall be referred to collectively herein as “CRT
              24       Products.”
              25                    4.       During the Relevant Period, Defendants and their co-conspirators
              26       controlled the majority of the CRT industry, a multibillion dollar market, which in 1999 alone
              27       generated over $19 billion dollars in gross revenue. During the Relevant Period, virtually every
              28       household in the United States owned at least one CRT Product.
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                   1                 5.       Since the mid-1990s, the CRT industry faced significant economic
                   2   pressures as customer preferences for other emerging technologies shrank profits and threatened
                   3   the sustainability of the industry. In order to maintain price stability, increase profitability, and
                   4   decrease the erosion of pricing in the CRT market, Defendants and their co-conspirators
                   5   conspired, combined and contracted to fix, raise, maintain and stabilize the price at which CRTs
                   6   were sold in the United States.
                   7                 6.       With respect to CRTs, Defendants, their co-conspirators and/or their agents
                   8   agreed, inter alia, to: (a) fix target prices and price guidelines; (b) exchange pertinent information
                   9   on, inter alia, shipments, prices, production and customer demand; (c) coordinate public
              10       statements regarding available capacity and supply; (d) resolve issues created by asymmetrical
              11       vertical integration among some of the co-conspirators; (e) keep their collusive meetings secret;
              12       (f) expose cheating on the agreements and to discuss the reconciliation of accounts; (g) allocate
              13       market share of overall sales; (g) influence and, at times, coordinate pricing with producers in
              14       other geographic areas; (h) limit competition for certain key customers; (i) allocate customers; (j)
              15       allocate each producer’s share of certain key customers’ sales; and (k) restrict output.
              16                     7.       The conspiracy concerning CRTs commenced with bilateral meetings that
              17       began in at least March of 1995 and continued throughout the Relevant Period. Also beginning in
              18       1995, the co-conspirators began to engage in informal group meetings. By 1997, these group
              19       meetings had become more formalized, as described in greater detail below. There were at least
              20       500 conspiracy meetings during the Relevant Period, including hundreds of group meetings and
              21       hundreds of bilateral meetings. These meetings occurred in various locales, including Taiwan,
              22       South Korea, Indonesia, Thailand, Singapore, Malaysia, China, the U.K., Europe, and the United
              23       States.   These meetings included representatives from the highest levels of the respective
              24       companies, as well as regional managers and others.
              25                     8.       During the Relevant Period, the conspiracy affected billions of dollars of
              26       commerce throughout the United States.
              27                     9.       This conspiracy is being investigated by the United States Department of
              28       Justice (“DOJ”) and by multiple foreign competition authorities, including the European
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                   1   Commission, the Korean Fair Trade Commission, and the Japan Fair Trade Commission.
                   2   Technicolor USA, Inc. (f/k/a Thomson Consumer Electronics, Inc.) was subpoenaed by the DOJ
                   3   in connection with its investigation of CRT price-fixing. Technicolor SA is the subject of an
                   4   investigation by the Mexican Federal Competition Commission, and its affiliate in Brazil is under
                   5   investigation by the Brazilian Ministry of Justice for fixing the prices of CRTs.         The first
                   6   participant to be indicted by the DOJ was C.Y. Lin, the former Chairman and CEO of co-
                   7   conspirator Chunghwa Picture Tubes, Ltd., who had a two-count indictment issued against him by
                   8   a federal grand jury in San Francisco on February 10, 2009. Since then, five more individuals
                   9   have been indicted in connection with Defendants’ CRT price-fixing conspiracy.
              10                     10.      In March 2011, co-conspirator Samsung SDI Company, Ltd. (“Samsung
              11       SDI”) pleaded guilty to fixing the prices of CDTs during at least the nine-year period from
              12       January 1997 to March 2006. Samsung SDI paid a criminal fine to the United States of $32
              13       million. The conspiracy to which Samsung SDI pleaded guilty was agreeing with its competitors
              14       and co-conspirators to raise the prices of CDTs, to reduce output of CDTs, and to allocate target
              15       market shares for the CDT market overall and for certain customers.
              16                     11.      Target is a leading national retailer of consumer electronics in the United
              17       States.   Throughout the Relevant Period, Target purchased CRT Products manufactured by
              18       Defendants and their co-conspirators both directly from Defendants and from other vendors.
              19       These purchases took place throughout the United States, including at Target’s headquarters in
              20       Minnesota, and Target’s multiple regional distribution centers (including California), where it
              21       received CRT Products manufactured by Defendants and their co-conspirators at prices that were
              22       artificially inflated by Defendants’ conspiracy.
              23                     12.      During the Relevant Period, Target purchased CRT Products in the United
              24       States and elsewhere directly and indirectly from Defendants and their co-conspirators, and/or
              25       Defendants’ and their co-conspirators’ subsidiaries and affiliates, and/or agents that Defendants or
              26       Defendants’ subsidiaries and affiliates controlled. Target thus suffered damages as a result of
              27       Defendants’ and their co-conspirators’ conspiracy, and brings this action to recover the
              28       overcharges paid for the CRT Products containing price-fixed CRTs it purchased during the
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                   1   Relevant Period.
                   2                 13.      This case is related to and concerns the same anti-competitive conspiracy
                   3   and many of the same transactions and events that are presently pending in Target Corp. v.
                   4   Chunghwa Picture Tubes, Ltd., Individual Case No. 11-cv-05514 (Master File No. 3:07-cv-
                   5   05944-SC, MDL No. 1917), before the Honorable Samuel Conti in this court. Both this case and
                   6   Target Corp. v. Chunghwa Picture Tubes, Ltd. are suits for damages arising out of the conspiracy
                   7   to fix the prices of and restrain competition for CRTs in violation of the federal antitrust laws and
                   8   state antitrust and unfair competition laws.
                   9   II.    JURISDICTION AND VENUE
              10
                                      14.     Target brings this action to recover damages, including treble damages
              11
                       under Section 4 of the Clayton Act, costs of suit and reasonable attorneys’ fees arising from
              12
                       Defendants’ violations of Section 1 of the Sherman Act (15 U.S.C. § 1).
              13
                                      15.     Target also brings this action pursuant to various state laws listed herein
              14
                       because Target purchased CRT Products from Defendants, their co-conspirators, and non-
              15
                       defendant vendors in those states, which contained price-fixed CRTs manufactured by Defendants
              16
                       and their co-conspirators.
              17
                                      16.     The Court has subject matter jurisdiction pursuant to Sections 4 and 16 of
              18
                       the Clayton Act (15 U.S.C. §§ 15 and 26) and 28 U.S.C. §§ 1331 and 1337. The Court has
              19
                       supplemental jurisdiction over Target’s state law claims listed herein under 28 U.S.C. § 1367
              20
                       because they arise from the same nucleus of operative facts alleged in this Complaint. Target’s
              21
                       state law claims are so related to its claims under Section 1 of the Sherman Act that they form
              22
                       part of the same case or controversy.
              23
                                      17.     The activities of Defendants and their co-conspirators, as described herein,
              24
                       involved U.S. import trade or commerce and/or were within the flow of, were intended to, and did
              25
                       have a direct, substantial and reasonably foreseeable effect on United States domestic and import
              26
                       trade or commerce. This effect gives rise to Target’s antitrust claims. During the Relevant
              27
                       Period, Defendants’ conspiracy affected the price of CRT Products purchased in the United
              28
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                   1   States. In particular, Defendants’ and their co-conspirators’ conspiracy directly and substantially
                   2   affected the price of CRT Products purchased by Target in the states identified herein.
                   3                   18.    This Court has jurisdiction over each Defendant named in this action under
                   4   Section 12 of the Clayton Act (15 U.S.C. § 22) and Cal. Civ. Code § 410.10. Defendants and their
                   5   co-conspirators purposely availed themselves of the laws of the United States as they
                   6   manufactured CRT Products for sale in the United States, or CRTs which were incorporated into
                   7   CRT Products Defendants and their co-conspirators knew would be sold to customers in the
                   8   United States. Defendants’ and their co-conspirators’ conspiracy affected this commerce in CRT
                   9   Products in the United States. The plea agreement of co-conspirator Samsung SDI admits that
              10       conduct in furtherance of the conspiracy occurred in the Northern District of California.
              11                       19.    Venue is proper in the Northern District of California under Section 12 of
              12       the Clayton Act (15 U.S.C. § 22) and 28 U.S.C. § 1391 because each Defendant is either an alien
              13       corporation, transacts business in this District, or is otherwise found within this District. In
              14       addition, venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of the
              15       events or omissions giving rise to this claim occurred in this District. Defendants and their co-
              16       conspirators knew that CRT Products containing price-fixed CRTs would be sold and shipped
              17       into this District.
              18
                       III.    PARTIES
              19
                               A.      Plaintiff Target Corp.
              20

              21                       20.    Target Corp. is a Minnesota corporation with its headquarters in

              22       Minneapolis, Minnesota. Target operates approximately 1,800 large-format general merchandise

              23       and food discount stores throughout the United States, as well as an online retail store,

              24       Target.com. During the Relevant Period, Target purchased substantial amounts of CRT Products

              25       manufactured by Defendants, their co-conspirators, and others in the United States for resale

              26       there. Target also purchased CRT Products for internal use during the Relevant Period. As a

              27       result of Defendants’ and their co-conspirators’ conspiracy, Target was injured in its business and

              28       property because the prices it paid for such CRT Products were artificially inflated by that
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                   1   conspiracy.
                   2
                                     21.     During the Relevant Period, Target’s negotiations for the purchase of CRT
                   3
                       Products took place in the United States and were controlled by a merchandising department
                   4
                       based at the company’s headquarters in Minnesota. In addition, all Target purchase orders for
                   5
                       CRT Products were issued from Minnesota and all invoices were sent to Target in Minnesota.
                   6
                       Target’s merchandising department in Minnesota was also responsible for selecting vendors and
                   7
                       product lines with respect to CRT Products.
                   8
                                     22.     During the Relevant Period, Target also purchased CRT Products at
                   9
                       distribution centers located in multiple states, including Arizona, California, Florida, Illinois,
              10
                       Iowa, Kansas, Michigan, Minnesota, New York, North Carolina, and Wisconsin, where it
              11
                       received CRT Products shipped to those distribution centers.
              12

              13              B.     Defendants

              14                     1.      Thomson Entities
              15
                                     23.     Defendant Thomson SA (now known as Technicolor SA) (“Thomson SA”)
              16
                       is a French Corporation with its principal place of business located at 1-5 Rue Jeanne d’Arc
              17
                       92130 Issy-les-Moulineaux, France. Thomson SA, on its own or through its wholly-owned
              18
                       subsidiary Thomson Consumer Electronics, Inc., and other subsidiaries, was a major
              19
                       manufacturer of CRTs for the United States market, with plants located in the United States,
              20
                       Mexico, China and Europe. Thomson SA sold its CRTs internally to its television-manufacturing
              21
                       division, which had plants in the United States and Mexico, and to other television manufacturers
              22
                       in the United States and elsewhere.        For much of the Relevant Period, the television
              23
                       manufacturing division of Thomson SA manufactured and sold in the United States CRT
              24
                       televisions under the RCA and GE brands. In July 2005, Thomson SA sold its CRT business to
              25
                       Defendant and co-conspirator Videocon Industries, Ltd. for €240 million.          Simultaneously,
              26
                       Thomson SA invested a total of €240 million in Videocon, comprising a €225 million investment
              27
                       in Videocon Industries, Ltd. and a €15 million investment in Videocon International, and acquired
              28
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                   1   13.1% of Videocon Industries, Ltd.       The agreement with Videocon provided that Thomson
                   2   management would help Videocon run the CRT business during the transition period and beyond.
                   3   Videocon and Thomson also agreed to set up Preferred Supplier Agreements for Thomson’s
                   4   display components business. Thomson SA also received at least one seat on Videocon’s board
                   5   of directors when it invested in Videocon Industries, Ltd. Thomson SA maintained at least a 10%
                   6   ownership interest in Videocon Industries, Ltd. for the remainder of the Relevant Period. In
                   7   January 2010, Thomson SA changed its name to Technicolor SA. During the Relevant Period,
                   8   Thomson SA manufactured, marketed, sold and/or distributed CRT Products, either directly or
                   9   through its subsidiaries or affiliates, to customers throughout the United States.
              10                      24.     Defendant Thomson Consumer Electronics, Inc. (now known as
              11       Technicolor USA, Inc.) (“Thomson Consumer”) is a United States corporation with its principal
              12       place of business located at 10330 N Meridian St., Indianapolis, Indiana 46290-1024. Thomson
              13       Consumer is a wholly-owned subsidiary of Thomson SA and was Thomson SA’s primary
              14       subsidiary for the manufacture and sale of CRTs in the United States during the Relevant Period.
              15       Thomson Consumer was a major manufacturer of CRTs for the United States market, with plants
              16       located in Scranton, Pennsylvania; Marion, Indiana; and Mexicali, Mexico. Thomson Consumer
              17       sold its CRTs to television manufacturers in the United States, Mexico and elsewhere. Thomson
              18       Consumer’s CRT business was sold by its parent Thomson SA to Videocon Industries, Ltd. in
              19       2005. Simultaneously, as described above, Thomson Consumer’s parent company Thomson SA
              20       invested €240 million into Videocon Industries, Ltd. and obtained 13.1% ownership of Videocon
              21       Industries, Ltd. Thomson Consumer was a parent corporation of its wholly-owned subsidiary,
              22       Thomson Displays Americas LLC.           In January 2010, Thomson Consumer Electronics, Inc.
              23       changed its name to Technicolor USA, Inc. During the Relevant Period, Thomson Consumer
              24       manufactured, marketed, sold and/or distributed CRT Products either directly or through its
              25       subsidiaries or affiliates throughout the United States.
              26                      25.     During the Relevant Period, Defendant Thomson SA, also sold and/or
              27       distributed CRT Products throughout the United States, either directly or indirectly through
              28       subsidiaries or affiliates including through a joint venture, TCL Thomson Electronics Corporation
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                   1   (“TCL Thomson”), formed between Defendant Thomson SA and TCL International Holdings
                   2   Ltd. (“TCL”).     One of the direct or indirect subsidiaries of TCL Thomson or TCL that
                   3   manufactured, marketed, sold and/or distributed CRT Products in the United States was TTE
                   4   Technology, Inc. (“TTE”).
                   5                   26.    Defendant Thomson SA had sufficient minimum contacts with the United
                   6   States during the Relevant Period for it to be subject to personal jurisdiction in the United States.
                   7   Defendant Thomson SA purposefully availed itself of the United States market for CRTs and
                   8   CRT products. Defendant Thomson SA fixed prices and constrained competition on CRTs it and
                   9   its wholly-owned subsidiary, Thomson Consumer, sold in the United States. Thomson SA had
              10       significant contacts with the United States, and it dominated and/or controlled the finances,
              11       policies, and/or affairs of its U.S.-based subsidiary, Thomson Consumer, relating to the antitrust
              12       violations alleged in this Complaint. During the Relevant Period, Thomson SA was a large
              13       multinational industrial and technology company. Thomson SA was neither a mere holding
              14       company nor a corporate shell, and its subsidiaries, including Thomson Consumer, were more
              15       than simple investment mechanisms for diversifying risk. Thomson SA had a controlling role in
              16       the operation of its subsidiaries and exercised a central management function over its subsidiaries,
              17       including Thomson Consumer, which served the function of servicing the pivotal U.S. CRT
              18       market. During the Relevant Period, between 40-50% of Thomson SA’s revenues were derived
              19       from the United States, and Thomson SA’s CEO described the United States as Thomson SA’s
              20       most important market. Thomson SA managed its business centrally, including that of Thomson
              21       Consumer, and its management and board of directors set its policies and direction. Thomson SA
              22       employees oversaw the United States profits and losses associated with Thomson Consumer’s
              23       high-end and value TV businesses. Thomson SA also was involved in planning and purchasing
              24       discussions with U.S. CRT customers, Thomson SA had to approve the purchases made by U.S.
              25       customers, and Thomson SA was involved in CRT production and pricing discussions relating to
              26       CRTs manufactured in Mexico for the North American market. During the Relevant Period,
              27       many Thomson SA executives also served as executives and/or board members of Thomson
              28       Consumer, and Thomson Consumer executives served as executive officers of or directors of
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                   1   Thomson SA, including the Chairman and CEO of Thomson SA who simultaneously served as
                   2   the President and CEO of Thomson Consumer, and thereafter as the Chairman of Thomson
                   3   Consumer:
                   4
                       Name                   Role with Thomson SA                Role with Thomson Consumer
                   5
                       Thierry Breton         Chairman and CEO (1997-2001); President & CEO (1997-2000);
                   6                          Member, Board of Directors Chairman (1997-2001)
                                              (2002-2005)
                   7   Olivier Mallet         Senior Vice President, Finance Director (1999-2000)
                                              (1996-2000)
                   8
                       Charles Dehelly        Senior Executive Vice President Director (2002-2003)
                   9                          (1998-2000); Senior Executive
                                              Vice President and COO (2001);
              10                              CEO (2002-2004)
                       Julian Waldron         Senior Executive Vice President, Director (2001-2007)
              11                              CFO (2001-2007); Interim CEO
                                              and Senior Executive Vice
              12                              President, CFO (2007-2008)
              13       Frederic Rose          CEO (2008-present)                  Chairman (2012-present)

              14       Moreover, numerous other Thomson SA “Executive Officers” had operational responsibilities in
              15       the United States: Jim Meyer was Senior Executive Vice President of SBUs Americas,
              16       Multimedia Products and New Media Services; Al Arras was Executive Vice President of SBU
              17       Audio and Communications; Michael O’Hara was Senior Vice President of SBU Americas; and
              18       Enrique Rodriguez was Vice President of SBU Multimedia Products. All were stationed at
              19       Thomson Consumer in Indianapolis, Indiana.
              20                        27.   Thomson SA and Thomson Consumer are collectively referred to herein as
              21       “Thomson.”
              22                        2.    Videocon
              23
                                        28.   Defendant Videocon Industries, Ltd. (“Videocon”) is an Indian corporation
              24
                       with its principal place of business located at Aurangabad Paithan Road 14, KM Stone,
              25
                       Chitegaon, Aurangabad 431005, India. In 2005, Videocon acquired Thomson’s CRT business for
              26
                       €240 million, which included facilities and personnel in the United States, Poland, Italy, Mexico
              27
                       and China. The deal for Videocon to acquire Thomson SA’s CRT business was completed
              28
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                   1   through a special purpose vehicle, Eagle Electronics. At the same time that Videocon purchased
                   2   Thomson’s CRT business, Thomson SA invested a total of €240 million in Videocon, comprising
                   3   a €225 million investment in Videocon Industries, Ltd. and a €15 million investment in Videocon
                   4   International, and acquired 13.1% of Videocon Industries, Ltd. The agreement with Videocon
                   5   provided that Thomson management would help Videocon run the CRT business during the
                   6   transition period and beyond. Videocon and Thomson also set up Preferred Supplier Agreements
                   7   for Thomson’s displays components businesses.            Thomson SA maintained at least a 10%
                   8   ownership interest in Videocon throughout the Relevant Period. Thomson SA also received one
                   9   or more seats on Videocon’s board of directors when it invested in Videocon. Videocon’s
              10       purchase of Thomson’s CRT business included acquisition of Thomson Displays Americas LLC
              11       (now known as Technologies Displays Americas, LLC) and its Mexican subsidiary, Thomson
              12       Displays Mexicana, S.A. de C.V. (now known as Technologies Displays Mexicana, S.A. de
              13       C.V.), including their facilities and personnel located in the United States, through Videocon’s
              14       wholly-owned investment entity located in the Cayman Islands, Eagle Corporation Limited.
              15       Videocon manufactured CRTs for the United States market in Thomson’s former CRT plants in
              16       Mexicali, Mexico and China. During the Relevant Period, Videocon manufactured, marketed,
              17       sold and/or distributed CRT Products, either directly or indirectly through its subsidiaries or
              18       affiliates, to customers throughout the United States.
              19                      3.      Technologies Displays
              20
                                      29.     Defendant Technologies Displays Americas LLC (formerly Thomson
              21
                       Displays Americas LLC) (“TDA”) is a Delaware limited liability company with its principal
              22
                       place of business located at 1778 Carr Road Ste 4B, Calexico, California 92231. TDA is a
              23
                       wholly-owned subsidiary of Videocon. TDA acquired Thomson’s U.S. CRT assets in 2005 after
              24
                       a period of cooperation and transition with Thomson entities subsequent to and in connection with
              25
                       the purchase and sale in 2005.       TDA was originally formed with its governing members
              26
                       represented equally from both Thomson and Videocon. TDA is owned by Eagle Corp., Ltd.
              27
                       Eagle Corp., Ltd. became a wholly-owned subsidiary of Videocon on December 31, 2005, after
              28
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                   1   Videocon acquired the balance 81% equity stake in Eagle Corp., Ltd. Eagle Corp. acquired TDA
                   2   in September 2005. In August 2005, Thomson Consumer made a capital contribution to TDA in
                   3   the form of a transfer of assets and contract rights related to TDA’s North American CRT
                   4   business. TDA is the parent corporation of its co-conspirator, Technologies Displays Mexicana,
                   5   S.A. de C.V., a Mexican corporation that manufactured and sold CRTs to TDA during the
                   6   Relevant Period.        During the Relevant Period, TDA manufactured, marketed, sold and/or
                   7   distributed CRT Products, either directly or indirectly through its subsidiaries or affiliates, to
                   8   customers throughout the United States. Defendants Thomson and then Videocon dominated
                   9   and/or controlled the finances, policies, and/or affairs of TDA and its subsidiary Technologies
              10       Displays Mexicana, S.A. de C.V., relating to the antitrust violations alleged in this Complaint.
              11       Two high-level Thomson managers – Thomson’s Managing Director of NAFTA Sales, Jack K.
              12       Brunk (“Brunk”), and Thomson’s General Manager, James P. Hanrahan (“Hanrahan”) –
              13       transitioned to work for TDA after it acquired Thomson’s CRT business. In addition, TDA
              14       referred to itself as a “Thomson” business after Videocon’s acquisition of Thomson’s CRT
              15       business. TDA and Technologies Displays Mexicana, S.A. de C.V., are collectively referred to as
              16       “Technologies Displays”
              17                        4.      Mitsubishi Entities
              18                        30.     Defendant Mitsubishi Electric Corporation (“Mitsubishi Electric Japan”)
              19       is a Japanese corporation located at Building 2-7-3, Marunouchi, Chiyoda-ku, Tokyo 100-8310,
              20       Japan. Mitsubishi Electric is a Fortune Global 500 Company that was ranked 214 in 2011 and
              21       that had combined net sales of over $44 billion in 2012. It has various subsidiaries operating in
              22       the United States, Mexico and Canada.           Mitsubishi Electric Japan and its subsidiaries
              23       manufactured CRTs in factories located in Japan, Taiwan, Mexico and Canada for sale in the
              24       United States.        These CRTs were sold internally to Mitsubishi’s television and monitor
              25       manufacturing division and to other television and monitor manufacturers in the United States
              26       and elsewhere. Mitsubishi’s television and monitor division also purchased CRTs from other
              27       CRT manufacturers.         During the Relevant Period, Mitsubishi Electric Japan manufactured,
              28       marketed, sold and distributed CRT Products in the United States.
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                   1                  31.    Defendant Mitsubishi Electric & Electronics USA, Inc. (“Mitsubishi
                   2   Electric USA”) is a United States corporation located at 5665 Plaza Drive, Cypress, California
                   3   90630. Mitsubishi Electric USA is a wholly-owned subsidiary of Mitsubishi Electric Japan.
                   4   Mitsubishi Electric USA manufactured CRTs for the United States market in plants located in
                   5   Mexicali, Mexico and Ontario, Canada. Mitsubishi Electric USA sold its CRTs internally to its
                   6   television and monitor manufacturing division and to other television and monitor manufacturers
                   7   in the United States and elsewhere. Mitsubishi’s television and monitor division also purchased
                   8   CRTs from other CRT manufacturers. During the Relevant Period, Mitsubishi Electric USA
                   9   manufactured, marketed, sold and distributed CRT Products in the United States.
              10                      32.    Defendant Mitsubishi Electric Visual Solutions America, Inc. (f/k/a
              11       Mitsubishi Digital Electronics America, Inc.) (“Mitsubishi Digital”) is a United States
              12       corporation located at 9351 Jeronimo Road, Irvine, California 92618. Mitsubishi Digital is a
              13       wholly-owned subsidiary of Mitsubishi Electric Japan. During the Relevant Period, Mitsubishi
              14       Digital manufactured, marketed, sold and distributed CRT Products in the United States.
              15                      33.    Mitsubishi Electric Japan, Mitsubishi Electric USA and Mitsubishi Digital
              16       are collectively referred to herein as “Mitsubishi.”
              17              C.      Co-Conspirators
              18                      34.    Various persons and firms not named as Defendants in this Complaint
              19       participated as co-conspirators in the violations alleged herein and performed acts and made
              20       statements in furtherance of the conspiracy to fix, raise, stabilize and maintain prices for CRTs.
              21       Many of these co-conspirators are named as defendants in the related case pending in this Court
              22       styled Target Corp. v. Chunghwa Picture Tubes, Ltd., Individual Case No. 11-cv-05514 (Master
              23       File No. 3:07-cv-05944-SC, MDL No. 1917). Specific information regarding the identity of these
              24       co-conspirators and their participation in the CRT price-fixing conspiracy is set forth in the
              25       Amended Complaint in Target Corp. v. Chunghwa Picture Tubes, Ltd., (Doc. No. 1981 in Master
              26       File No. 3:07-cv-05944-SC).
              27                      35.    Co-conspirator Hitachi, Ltd. is a Japanese company with its principal place
              28       of business at 6-6, Marunouchi 1-chome, Chiyoda-ku, Tokyo, 100-8280, Japan. Hitachi, Ltd. is
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                   1   the parent company for the Hitachi brand of CRT Products. In 1996, Hitachi, Ltd.’s worldwide
                   2   market share for color CRTs was 20 percent.             During the Relevant Period, Hitachi, Ltd.
                   3   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
                   4   subsidiaries or affiliates, throughout the United States.
                   5                  36.     Co-conspirator Hitachi Displays, Ltd. (“Hitachi Displays”) is a Japanese
                   6   company with its principal place of business located at 3300 Hayano, Mobara-shi, Chiba-ken,
                   7   297-8622, Japan. Hitachi Displays was originally established as Mobara Works of Hitachi, Ltd.
                   8   in Mobara City, Japan, in 1943. In 2002, all the departments of planning, development, design,
                   9   manufacturing and sales concerned with the display business of Hitachi, Ltd. were spun off to
              10       create a separate company called Hitachi Displays. During the Relevant Period, Hitachi Displays
              11       manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
              12       subsidiaries or affiliates, throughout the United States. Co-conspirator Hitachi, Ltd. dominated
              13       and controlled the finances, policies and affairs of Hitachi Displays relating to the antitrust
              14       violations alleged in this complaint.
              15                      37.     Co-conspirator Hitachi America, Ltd. (“Hitachi America”) is a New York
              16       company with its principal place of business located at 50 Prospect Avenue, Tarrytown, New
              17       York 10591. Hitachi America is a wholly-owned and controlled subsidiary of co-conspirator
              18       Hitachi, Ltd. During the Relevant Period, Hitachi America manufactured, marketed, sold and/or
              19       distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
              20       United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
              21       affairs of Hitachi America relating to the antitrust violations alleged in this complaint.
              22                      38.     Co-conspirator Hitachi Asia, Ltd. (“Hitachi Asia”) is a Singaporean
              23       company with its principal place of business located at 7 Tampines Grande, #08-01 Hitachi
              24       Square, Singapore 528736. Hitachi Asia is a wholly-owned and controlled subsidiary of co-
              25       conspirator Hitachi, Ltd. During the Relevant Period, Hitachi Asia manufactured, marketed, sold
              26       and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
              27       throughout the United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances,
              28       policies and affairs of Hitachi Asia relating to the antitrust violations alleged in this complaint.
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                   1                   39.    Co-conspirator Hitachi Electronic Devices (USA), Inc. (“HEDUS”) is a
                   2   Delaware corporation with its principal place of business located at 1000 Hurricane Shoals Road
                   3   Suite D-100, Lawrenceville, GA 30043. HEDUS is a subsidiary of co-conspirator Hitachi, Ltd
                   4   and Hitachi Displays. During the Relevant Period, HEDUS manufactured, marketed, sold and/or
                   5   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
                   6   United States. Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and controlled the
                   7   finances, policies and affairs of HEDUS relating to the antitrust violations alleged in this
                   8   complaint.
                   9
                                       40.    Co-conspirator Shenzhen SEG Hitachi Color Display Devices, Ltd.
              10
                       (“Hitachi Shenzhen”) was a Chinese company with its principal place of business located at
              11
                       5001 Huanggang Road, Futian District, Shenzhen 518035, China. Hitachi Displays, Ltd. owned
              12
                       at least a 25% interest in Hitachi Shenzhen until November 8, 2007. Thus, Hitachi Shenzhen was
              13
                       a member of the Hitachi corporate group for all but the last two weeks of the Relevant Period.
              14
                       During the Relevant Period, Hitachi Shenzhen manufactured, marketed, sold and/or distributed
              15
                       CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
              16
                       States. Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and controlled the finances,
              17
                       policies and affairs of Hitachi Shenzhen relating to the antitrust violations alleged in this
              18
                       complaint.
              19
                                       41.    Co-conspirators Hitachi Ltd., Hitachi Displays, Hitachi America, Hitachi
              20
                       Asia, HEDUS and Hitachi Shenzhen are collectively referred to herein as “Hitachi.”
              21
                                       42.    Co-conspirator IRICO Group Corporation (“IGC”) is a Chinese company
              22
                       with its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province
              23
                       712021.      IGC is the parent company for multiple subsidiaries engaged in the manufacture,
              24
                       marketing, distribution and sale of CRT Products.           During the Relevant Period, IGC
              25
                       manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
              26
                       subsidiaries or affiliates, throughout the United States.
              27
                                       43.    Co-conspirator IRICO Group Electronics Co., Ltd. (“IGE”) is a Chinese
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                   1   company with its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi
                   2   Province 712021. IGE is owned by co-conspirator IGC. According to its website, IGE was the
                   3   first CRT manufacturer in China and one of the leading global manufacturers of CRTs. Its
                   4   website also claims that in 2003 it was the largest CRT manufacturer in China in terms of
                   5   production and sales volume, sales revenue and aggregated profit, and taxation. During the
                   6   Relevant Period, IGE manufactured, marketed, sold and/or distributed CRT Products, either
                   7   directly or through its subsidiaries or affiliates, throughout the United States. Co-conspirator IGC
                   8   dominated and controlled the finances, policies and affairs of IGE relating to the antitrust
                   9   violations alleged in this complaint.
              10                         44.   Co-conspirator IRICO Display Devices Co., Ltd. (“IDDC”) is a Chinese
              11       company with its principal place of business located at No. 16, Fenghui South Road West,
              12       District High-tech Development Zone, Xi’an, SXI 710075. IDDC is a partially-owned subsidiary
              13       of co-conspirator IGC. In 2006, IDDC was China’s top CRT maker. During the Relevant Period,
              14       IDDC manufactured, marketed, distributed and/or sold CRT Products, either directly or through
              15       its subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
              16       controlled the finances, policies and affairs of IDDC relating to the antitrust violations alleged in
              17       this complaint.
              18                         45.   Co-conspirators IGC, IGE and IDDC are collectively referred to herein as
              19       “IRICO.”
              20                         46.   Co-conspirator LG Electronics, Inc. (“LGEI”) is a corporation organized
              21       under the laws of the Republic of Korea with its principal place of business located at LG Twin
              22       Towers, 20 Yeouido-dong, Yeongdeungpo-gu, Seoul 150-721, South Korea. LGEI is a $48.5
              23       billion global force in consumer electronics, home appliances and mobile communications, which
              24       established its first overseas branch office in New York in 1968. The company’s name was
              25       changed from Gold Star Communications to LGEI in 1995, the year in which it also acquired
              26       Zenith in the United States. In 2001, LGEI transferred its CRT business to a 50/50 joint venture
              27       with co-conspirator Koninklijke Philips Electronics N.V. called LG.Philips Displays (“LGPD”).
              28       On April 1, 2007, LGPD became an independent company and changed its name to LP Displays
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                   1   International Ltd.     During the Relevant Period, LGEI manufactured, marketed, sold and/or
                   2   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
                   3   United States.
                   4                    47.    Co-conspirator LG Electronics USA, Inc. (“LGEUSA”) is a Delaware
                   5   corporation with its principal place of business located at 1000 Sylvan Ave., Englewood Cliffs,
                   6   New Jersey 07632. LGEUSA is a wholly-owned and controlled subsidiary of co-conspirator
                   7   LGEI. During the Relevant Period, LGEUSA manufactured, marketed, sold and/or distributed
                   8   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
                   9   States. Co-conspirator LGEI dominated and controlled the finances, policies and affairs of
              10       LGEUSA relating to the antitrust violations alleged in this complaint.
              11                        48.    Co-conspirators LGEI and LGEUSA are collectively referred to herein as
              12       “LG Electronics.”
              13                        49.    Co-conspirator LP Displays International Ltd. f/k/a LGPD (“LP Displays”)
              14       is a Hong Kong company located at Corporate Communications, 6th Floor, ING Tower, 308 Des
              15       Voeux Road Central, Sheung Wan, Hong Kong. LP Displays is the successor entity to LGPD,
              16       which was created in 2001 as a 50/50 joint venture between co-conspirators LGEI and Royal
              17       Philips. In March 2007, LP Displays became an independent company. LP Displays is a leading
              18       supplier of CRTs for use in television sets and computer monitors with annual sales for 2006 of
              19       over $2 billion and a market share of 27%. LP Displays announced in March 2007 that Royal
              20       Philips and LGEI would cede control over the company and the shares would be owned by
              21       financial institutions and private equity firms.       During the Relevant Period, LP Displays
              22       manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
              23       subsidiaries or affiliates, throughout the United States.
              24                        50.    Co-conspirator Panasonic Corporation, which was at all times during the
              25       Relevant Period known as Matsushita Electric Industrial Co, Ltd. and only became Panasonic
              26       Corporation on October 1, 2008, is a Japanese entity located at 1006 Oaza Kadoma, Kadoma-shi,
              27       Osaka 571-8501, Japan.       During the Relevant Period, Panasonic Corporation manufactured,
              28       marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
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                   1   affiliates, throughout the United States.
                   2                  51.     Co-conspirator Panasonic Corporation of North America (“PCNA”) is a
                   3   Delaware corporation with its principal place of business located at One Panasonic Way,
                   4   Secaucus, New Jersey 07094.        PCNA is a wholly-owned and controlled subsidiary of co-
                   5   conspirator Panasonic Corporation. During the Relevant Period, PCNA manufactured, marketed,
                   6   sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
                   7   throughout the United States. Co-conspirator Panasonic Corporation dominated and controlled
                   8   the finances, policies and affairs of PCNA relating to the antitrust violations alleged in this
                   9   complaint.
              10                      52.     Co-conspirator Matsushita Electronic Corporation (Malaysia) Sdn. Bhd.
              11       (“Matsushita Malaysia”) was a Malaysian company with its principal place of business located
              12       at Lot 1, Persiaran Tengku Ampuan Section 21, Shah Alam Industrial Site, Shah Alam Malaysia
              13       40000. Matsushita Malaysia was a wholly-owned and controlled subsidiary of co-conspirator
              14       Panasonic Corporation. Panasonic Corporation transferred Matsushita Malaysia to MT Picture
              15       Display Co., Ltd. (“MTPD”), its CRT joint venture with Toshiba Corporation, in 2003. It was re-
              16       named MT Picture Display (Malaysia) Sdn. Bhd. and operated as a wholly-owned subsidiary of
              17       MTPD until its closure in 2006. During the Relevant Period, Matsushita Malaysia manufactured,
              18       marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
              19       affiliates, throughout the United States. Co-conspirator Panasonic Corporation dominated and
              20       controlled the finances, policies and affairs of Matsushita Malaysia relating to the antitrust
              21       violations alleged in this complaint.
              22                      53.     Co-conspirators Panasonic Corporation, PCNA, and Matsushita Malaysia
              23       are collectively referred to herein as “Panasonic.”
              24                      54.     Co-conspirator MT Picture Display Co., Ltd., f/k/a Matsushita Toshiba
              25       Picture Display Co., Ltd. (“MTPD”) is a Japanese entity located at 1-15 Matsuo-cho, Kadoma-
              26       shi, Osaka, 571-8504, Japan. In 2002, Panasonic Corporation entered into a joint venture with co-
              27       conspirator Toshiba Corporation called Matsushita Toshiba Picture Display Co., Ltd. to
              28       manufacture CRTs. Panasonic Corporation was the majority owner with 64.5 percent. On March
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                   1   30, 2007, Panasonic Corporation purchased the remaining 35.5 percent stake in the joint venture,
                   2   making Matsushita Picture Display Co., Ltd. a wholly-owned subsidiary of Panasonic
                   3   Corporation, and renaming it MT Picture Display Co., Ltd. During the Relevant Period, MTPD
                   4   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
                   5   subsidiaries or affiliates, throughout the United States.
                   6                  55.     Co-conspirator Beijing Matsushita Color CRT Co., Ltd. (“BMCC”) is a
                   7   Chinese company with its principal place of business located at No. 9 Jiuxianqiao N. Rd.,
                   8   Dashanzi Chaoyang District, Beijing, China. BMCC is a joint venture company, 50% of which is
                   9   held by co-conspirator MTPD. The other 50% is held by Beijing Orient Electronics (Group) Co.,
              10       Ltd., China National Electronics Import & Export Beijing Company (a China state-owned
              11       enterprise), and Beijing Yayunchun Brach of the Industrial and Commercial Bank of China (a
              12       China state-owned enterprise). Formed in 1987, BMCC was Panasonic Corporation’s first CRT
              13       manufacturing facility in China. BMCC is the second largest producer of CRTs for televisions in
              14       China. During the Relevant Period, BMCC manufactured, marketed, sold and/or distributed CRT
              15       Products, either directly or through its subsidiaries or affiliates, throughout the United States.
              16                      56.     Co-conspirator Koninklijke Philips Electronics N.V. a/k/a Royal Philips
              17       Electronics (“Royal Philips”) is a Dutch company with its principal place of business located at
              18       Amstelplein 2, 1070 MX Amsterdam, The Netherlands. Royal Philips, founded in 1891, is one of
              19       the world’s largest electronics companies, with 160,900 employees located in over 60 countries.
              20       Royal Philips had sole ownership of its CRT business until 2001.             In 2001, Royal Philips
              21       transferred its CRT business to a 50/50 joint venture with co-conspirator LGEI, forming co-
              22       conspirator LGPD (n/k/a LP Displays). In December 2005, as a result of increased pressure on
              23       demand and prices for CRT Products, Royal Philips wrote off the remaining book value of 126
              24       million Euros of its investment and said it would not inject further capital into the venture.
              25       During the Relevant Period, Royal Philips manufactured, marketed, sold and/or distributed CRT
              26       Products, either directly or through its subsidiaries or affiliates, throughout the United States.
              27                      57.     Co-conspirator Philips Electronics North America Corporation (“Philips
              28       America”) is a Delaware corporation with its principal place of business located at 1251 Avenue
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                   1   of the Americas, New York, New York 10020-1104. Philips America is a wholly-owned and
                   2   controlled subsidiary of co-conspirator Royal Philips.         During the Relevant Period, Philips
                   3   America manufactured, marketed, sold and/or distributed CRT Products, either directly or
                   4   through its subsidiaries or affiliates, throughout the United States. Co-conspirator Royal Philips
                   5   dominated and controlled the finances, policies and affairs of Philips America relating to the
                   6   antitrust violations alleged in this complaint.
                   7                  58.     Co-conspirator Philips Electronics Industries (Taiwan), Ltd. (“Philips
                   8   Taiwan”) is a Taiwanese company with its principal place of business located at 15F 3-1 Yuanqu
                   9   Street, Nangang District, Taipei, Taiwan. Philips Taiwan is a subsidiary of co-conspirator Royal
              10       Philips.   During the Relevant Period, Philips Taiwan manufactured, marketed, sold and/or
              11       distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
              12       United States. Co-conspirator Royal Philips dominated and controlled the finances, policies and
              13       affairs of Philips Taiwan relating to the antitrust violations alleged in this complaint.
              14                      59.     Co-conspirator Philips da Amazonia Industria Electronica Ltda. (“Philips
              15       Brazil”) is a Brazilian company with its principal place of business located at Av Torquato
              16       Tapajos 2236, 1 andar (parte 1), Flores, Manaus, AM 39048-660, Brazil. Philips Brazil is a
              17       wholly-owned and controlled subsidiary of co-conspirator Royal Philips. During the Relevant
              18       Period, Philips Brazil manufactured, marketed, sold and/or distributed CRT Products, either
              19       directly or through its subsidiaries or affiliates, throughout the United States. Co-conspirator
              20       Royal Philips dominated and controlled the finances, policies and affairs of Philips Brazil relating
              21       to the antitrust violations alleged in this complaint.
              22                      60.     Co-conspirators Royal Philips, Philips America, Philips Taiwan and Philips
              23       Brazil are collectively referred to herein as “Philips.”
              24                      61.     Co-conspirator Samsung SDI Co., Ltd. f/k/a Samsung Display Device
              25       Company (“Samsung SDI”) is a South Korean company with its principal place of business
              26       located at 575 Shin-dong, Youngtong-gu, Suwon, South Korea.               Samsung SDI is a public
              27       company. Samsung Electronics Corporation (“SEC”) is a major shareholder of Samsung SDI,
              28       holding almost 20 percent of the stock. Founded in 1970, Samsung SDI claims to be the world’s
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                   1   leading company in the display and energy business, with 28,000 employees and facilities in 18
                   2   countries. In 2002, Samsung SDI held a 34.3% worldwide market share in the market for CRTs;
                   3   more than any other producer. Samsung SDI has offices in Chicago and San Diego. During the
                   4   Relevant Period, Samsung SDI manufactured, marketed, sold and/or distributed CRT Products,
                   5   either directly or through its subsidiaries or affiliates, throughout the United States.       SEC
                   6   dominated and controlled the finances, policies and affairs of Samsung SDI relating to the
                   7   antitrust violations alleged in this complaint.
                   8                  62.     Co-conspirator Samsung SDI America, Inc. (“Samsung SDI America”) is
                   9   a California corporation with its principal place of business located at 3333 Michelson Drive,
              10       Suite 700, Irvine, California 92612. Samsung SDI America is a wholly-owned and controlled
              11       subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI America
              12       manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
              13       subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
              14       dominated and controlled the finances, policies and affairs of Samsung SDI America relating to
              15       the antitrust violations alleged in this complaint.
              16                      63.     Co-conspirator Samsung SDI Mexico S.A. de C.V.             (“Samsung SDI
              17       Mexico”) is a Mexican company with its principal place of business located at Blvd. Los Olivos,
              18       No. 21014, Parque Industrial El Florido, Tijuana, B.C. Mexico. Samsung SDI Mexico is a
              19       wholly-owned and controlled subsidiary of co-conspirator Samsung SDI. During the Relevant
              20       Period, Samsung SDI Mexico manufactured, marketed, sold and/or distributed CRT Products,
              21       either directly or through its subsidiaries or affiliates, throughout the United States. SEC and co-
              22       conspirator Samsung SDI dominated and controlled the finances, policies and affairs of Samsung
              23       SDI Mexico relating to the antitrust violations alleged in this complaint.
              24                      64.     Co-conspirator Samsung SDI Brasil Ltda. (“Samsung SDI Brazil”) is a
              25       Brazilian company with its principal place of business located at Av. Eixo Norte Sul, S/N,
              26       Distrito Industrial, 69088-480 Manaus, Amazonas, Brazil. Samsung SDI Brazil is a wholly-
              27       owned and controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period,
              28       Samsung SDI Brazil manufactured, marketed, sold and/or distributed CRT Products, either
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                   1   directly or through its subsidiaries or affiliates, throughout the United States. SEC and co-
                   2   conspirator Samsung SDI dominated and controlled the finances, policies and affairs of Samsung
                   3   SDI Brazil relating to the antitrust violations alleged in this complaint.
                   4                  65.     Co-conspirator Shenzhen Samsung SDI Co., Ltd. (“Samsung SDI
                   5   Shenzhen”) is a Chinese company with its principal place of business located at Huanggang Bei
                   6   Lu, Futian Gu, Shenzhen, China. Samsung SDI Shenzhen is a wholly-owned and controlled
                   7   subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI Shenzhen
                   8   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
                   9   subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
              10       dominated and controlled the finances, policies and affairs of Samsung SDI Shenzhen relating to
              11       the antitrust violations alleged in this complaint.
              12                      66.     Co-conspirator Tianjin Samsung SDI Co., Ltd. (“Samsung SDI Tianjin”)
              13       is a Chinese company with its principal place of business located at Developing Zone of Yi-Xian
              14       Park, Wuqing County, Tianjin, China. Samsung SDI Tianjin is a wholly-owned and controlled
              15       subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI Tianjin
              16       manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
              17       subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
              18       dominated and controlled the finances, policies and affairs of Samsung SDI Tianjin relating to the
              19       antitrust violations alleged in this complaint.
              20                      67.     Co-conspirator Samsung SDI (Malaysia) Sdn. Bhd. (“Samsung SDI
              21       Malaysia”) is a Malaysian corporation with its principal place of business located at Lots 635 &
              22       660, Kawasan Perindustrian, Tuanku Jafaar, 71450 Sungai Gadut, Negeri Sembilan Darul
              23       Khusus, Malaysia. Samsung SDI Malaysia is a wholly-owned and controlled subsidiary of co-
              24       conspirator Samsung SDI. During the Relevant Period, Samsung SDI Malaysia manufactured,
              25       marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
              26       affiliates, throughout the United States. SEC and co-conspirator Samsung SDI dominated and
              27       controlled the finances, policies and affairs of Samsung SDI Malaysia relating to the antitrust
              28       violations alleged in this complaint.
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                   1                    68.   Co-conspirators Samsung SDI, Samsung SDI America, Samsung SDI
                   2   Mexico, Samsung SDI Brazil, Samsung SDI Shenzhen, Samsung SDI Tianjin and Samsung SDI
                   3   Malaysia are collectively referred to herein as “Samsung SDI.”
                   4                    69.   Co-conspirator Samtel Color Ltd. (“Samtel”) is an Indian company with its
                   5   principal place of business located at 52, Community Centre, New Friends Colony, New Delhi-
                   6   110065. Samtel’s market share for CRTs sold in India is approximately 40%, and it is that
                   7   country’s largest exporter of CRT Products. Samtel has gained safety approvals from the United
                   8   States, Canada, Germany, and Great Britain for its CRT Products. During the Relevant Period,
                   9   Samtel manufactured, marketed, sold and/or distributed CRT Products, either directly or through
              10       its subsidiaries and affiliates, throughout the United States.
              11                        70.   Co-conspirator Thai CRT Co., Ltd. (“Thai CRT”) is a Thai company
              12       located at 1/F 26 Siam Cement Rd., Bangsue Dusit, Bangkok, Thailand. Thai CRT is a subsidiary
              13       of Siam Cement Group, and it was established in 1986 as Thailand’s first manufacturer of CRTs
              14       for color televisions. During the Relevant Period, Thai CRT manufactured, marketed, sold and/or
              15       distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
              16       United States.
              17                        71.   Co-conspirator Toshiba Corporation (“TC”) is a Japanese company with its
              18       principal place of business located at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-8001, Japan.
              19       In 2001, TC held a 5 to 10 percent worldwide market share for CRTs used in televisions and in
              20       computer monitors. In December 1995, TC partnered with Orion Electronic Co. and two other
              21       non-Defendant entities to form P.T. Tosummit Electronic Devices Indonesia (“TEDI”) in
              22       Indonesia. TEDI was projected to have an annual production capacity of 2.3 million CRTs by
              23       1999.    In 2002, TC entered into MTPD, a joint venture with co-conspirator Panasonic
              24       Corporation, in which the entities consolidated their CRT businesses.        During the Relevant
              25       Period, TC manufactured, marketed, sold and/or distributed CRT Products, either directly or
              26       through its subsidiaries or affiliates, throughout the United States.
              27                        72.   Co-conspirator Toshiba America, Inc. (“Toshiba America”) is a Delaware
              28       corporation with its principal place of business located at 1251 Avenue of the Americas, Suite
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                   1   4110, New York, New York 10020.              Toshiba America is a wholly-owned and controlled
                   2   subsidiary of co-conspirator TC. During the Relevant Period, Toshiba America manufactured,
                   3   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
                   4   affiliates, throughout the United States.       Co-conspirator TC dominated and controlled the
                   5   finances, policies and affairs of Toshiba America relating to the antitrust violations alleged in this
                   6   complaint.
                   7                     73.   Co-conspirator Toshiba America Consumer Products, LLC (“TACP”) is a
                   8   limited liability company that is headquartered at 82 Totowa Rd., Wayne, New Jersey 07470-
                   9   3114. TACP is a wholly-owned and controlled subsidiary of co-conspirator TC through Toshiba
              10       America. During the Relevant Period, TACP manufactured, marketed, sold and/or distributed
              11       CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
              12       States. Co-conspirator TC dominated and controlled the finances, policies and affairs of TACP
              13       relating to the antitrust violations alleged in this complaint.
              14                         74.   Co-conspirator Toshiba America Electronic Components, Inc. (“TAEC”) is
              15       a California corporation with its principal place of business located at 19900 MacArthur
              16       Boulevard, Suite 400, Irvine, California 92612.          TAEC is a wholly-owned and controlled
              17       subsidiary of co-conspirator TC through Toshiba America. During the Relevant Period, TAEC
              18       manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
              19       subsidiaries or affiliates, throughout the United States.         Co-conspirator TC dominated and
              20       controlled the finances, policies and affairs of TAEC relating to the antitrust violations alleged in
              21       this complaint.
              22                         75.   Co-conspirator Toshiba America Information Systems, Inc. (“TAIS”) is a
              23       California corporation with its principal place of business located at 9740 Irvine Blvd., Irvine,
              24       California 92618-1697. TAIS is a wholly-owned and controlled subsidiary of co-conspirator TC
              25       through Toshiba America. During the Relevant Period, TAIS manufactured, marketed, sold
              26       and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
              27       throughout the United States. Co-conspirator TC dominated and controlled the finances, policies
              28       and affairs of TAIS relating to the antitrust violations alleged in this complaint.
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                   1                  76.     Co-conspirator P.T. Tosummit Electronic Devices Indonesia (“TEDI”) was
                   2   a CRT joint venture formed by TC, Orion Electronic Co., and two other entities in December
                   3   1995. TEDI’s principal place of business was located in Indonesia. TEDI was projected to have
                   4   an annual production capacity of 2.3 million CRTs by 1999. In 2003, TEDI was transferred to
                   5   co-conspirator MTPD, TC’s joint venture with Panasonic Corporation, and its name was changed
                   6   to PT.MT Picture Display Indonesia. During the Relevant Period, TEDI manufactured, marketed,
                   7   sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
                   8   throughout the United States. Co-conspirator TC dominated and controlled the finances, policies,
                   9   and affairs of TEDI relating to the antitrust violations alleged in this complaint.
              10                      77.     Co-conspirator Toshiba Display Devices (Thailand) Co., Ltd. (“TDDT”)
              11       was a Thai company with its principal place of business located at 142 Moo 5 Bangkok Industrial
              12       Estate, Tivanon Road, Pathum Thani, Thailand 12000.              TDDT was a wholly-owned and
              13       controlled subsidiary of co-conspirator TC. In 2003, TDDT was transferred to co-conspirator
              14       MTPD, TC’s joint venture with Panasonic Corporation. It was re-named MT Picture Display
              15       (Thailand) Co., Ltd. and operated as a wholly-owned and controlled subsidiary of MTPD until its
              16       closure in 2007.     During the Relevant Period, TDDT manufactured, marketed, sold and/or
              17       distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
              18       United States. Co-conspirator TC dominated and controlled the finances, policies and affairs of
              19       TDDT relating to the antitrust violations alleged in this complaint.
              20                      78.     Co-conspirators TC, Toshiba America, TACP, TAEC, TAIS, TEDI, and
              21       TDDT are collectively referred to herein as “Toshiba.”
              22                      79.     Co-conspirator Orion Electronic Co. (“Orion”) was a Korean corporation.
              23       It filed for bankruptcy in 2004. Orion was a major manufacturer of CRT Products. In 1995,
              24       approximately 85% of Orion’s $1 billion in sales was attributed to CRT Products. Orion was
              25       involved in CRT Products sales and manufacturing joint ventures and had subsidiaries all over the
              26       world, including South Africa, France, Indonesia, Mexico, and the United States. Target is
              27       informed and believes that Orion was wholly owned by the “Daewoo Group.” The Daewoo
              28       Group included Daewoo Electronics Co., Ltd. (“Daewoo Electronics”), Daewoo Telecom Co.,
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                   1   Daewoo Corporation, and Orion Electronic Components Co. The Daewoo Group was dismantled
                   2   in or around 1999. Daewoo Electronics and Orion were 50/50 joint venture partners in an entity
                   3   called Daewoo-Orion Societe Anonyme (“DOSA”) in France. As of approximately 1996, DOSA
                   4   produced 1.2 million CRTs annually. Daewoo sold DOSA’s CRT business in or around 2004.
                   5   During the Relevant Period, Orion, Daewoo Electronics, and DOSA manufactured, marketed,
                   6   sold and/or distributed CRTs and/or CRT Products, either directly or through their subsidiaries or
                   7   affiliates, throughout the United States.
                   8                  80.     Co-conspirators Orion, Daewoo Electronics, and DOSA are collectively
                   9   referred to herein as “Daewoo.”
              10                      81.     Co-conspirator Chunghwa Picture Tubes, Ltd. (“Chunghwa PT”) is a
              11       Taiwanese company with its principal place of business at No. 1127, Heping Rd., Bade City,
              12       Taoyuan, Taiwan. It was established in 1971 by Tatung Corporation to manufacture CRTs. In
              13       1974, Chunghwa PT’s CRTs received certification by the United States, giving the company entry
              14       into that market.     Throughout the Relevant Period, was one of the major global CRT
              15       manufacturers. During the Relevant Period, Chunghwa PT manufactured, marketed, sold and/or
              16       distributed CRT Products, either directly or through its subsidiaries or affiliates (such as its
              17       Fuzhou subsidiary), throughout the United States.
              18                      82.     Co-conspirator       Chunghwa   Picture   Tubes   (Malaysia)    Sdn.   Bhd.
              19       (“Chunghwa Malaysia”) is a Malaysian company with its principal place of business at Lot I,
              20       Subang Hi-Tech Industrial Park, Batu Tiga, 4000 Shah Alam, Selangor Darul Ehsan, Malaysia. It
              21       is a wholly-owned subsidiary of Chunghwa PT.           Chunghwa Malaysia is focused on CRT
              22       production, and it has established itself as one of the leading worldwide suppliers of CRTs.
              23       During the Relevant Period, Chunghwa Malaysia manufactured, marketed, sold and/or distributed
              24       CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
              25       States. Co-conspirator Chunghwa PT dominated and controlled the finances, policies and affairs
              26       of Chunghwa Malaysia relating to the antitrust violations alleged in this complaint.
              27                      83.     Co-conspirators Chunghwa PT and Chunghwa Malaysia are collectively
              28       referred to herein as “Chunghwa.”
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                   1                    84.   Co-conspirator Tatung Company of America, Inc. (“Tatung America”) is
                   2   a California corporation with its principal place of business located at 2850 El Presido Street,
                   3   Long Beach, California. Tatung America is a subsidiary of Tatung Company. Currently, Tatung
                   4   Company owns approximately one-half of Tatung America. The other half used to be owned by
                   5   Lun Kuan Lin, the daughter of Tatung Company’s former Chairman T.S. Lin. Following Lun
                   6   Kuan Lin’s death, her share passed to her two children. During the Relevant Period, Tatung
                   7   America manufactured, marketed, sold and/or distributed CRT Products manufactured by, among
                   8   others, Chunghwa PT, either directly or through its subsidiaries or affiliates, throughout the
                   9   United States.
              10                        85.   Co-conspirator    Technologies     Displays   Mexicana,     S.A.     de   C.V.
              11       (“Technologies Displays Mexicana”), formerly known as Thomson Displays Mexicana, is a
              12       Mexican corporation with its principal place of business located at Calz. Robledo Industrial
              13       Colorad, Mexicali, B.C. 21384, Mexico. Technologies Displays Mexicana is a wholly-owned
              14       subsidiary of Defendant TDA, which is itself a wholly-owned subsidiary of Defendant Videocon.
              15       During the Relevant Period, Technologies Displays Mexicana manufactured, marketed, sold
              16       and/or distributed CRT Products, either directly or indirectly through subsidiaries or affiliates, to
              17       customers throughout the United States. Defendants Thomson SA and later Videocon and TDA
              18       dominated and/or controlled the finances, policies and/or affairs of Technologies Displays
              19       Mexicana relating to the antitrust violations alleged in this Complaint.
              20                        86.   Co-conspirator NEC-Mitsubishi Electric Visual Systems Corporation
              21       (“NEC-Mitsubishi”) was a joint venture of NEC Corporation and Defendant Mitsubishi Electric
              22       Japan. During the Relevant Period, NEC-Mitsubishi was based in Tokyo, Japan. During the
              23       Relevant Period, NEC-Mitsubishi manufactured, marketed, sold and/or distributed CRT Products,
              24       directly or indirectly through subsidiaries or affiliates, including NEC-Mitsubishi Electronics
              25       Display and NEC-Mitsubishi Electronics Display of America, Inc., to customers throughout the
              26       United States. During the Relevant Period, Defendant Mitsubishi Electric Japan dominated
              27       and/or controlled the finances, policies and/or affairs of NEC-Mitsubishi relating to the antitrust
              28       violations alleged in this Complaint.
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                   1   IV.     AGENTS
                   2
                                        87.   The acts alleged against Defendants in this Complaint were authorized,
                   3
                       ordered, or done by their officers, agents, employees, or representatives, while actively engaged in
                   4
                       the management and operation of Defendants’ businesses or affairs.
                   5
                                        88.   Each Defendant or co-conspirator acted as the principal, agent, or joint
                   6
                       venturer of, or for, other Defendants and co-conspirators with respect to the acts, violations, and
                   7
                       common course of conduct alleged by Target. Each Defendant and co-conspirator that is a
                   8
                       subsidiary of a foreign parent acts as the United States agent for CRTs and/or CRT Products
                   9
                       made by its parent company.
              10
                                        89.   The acts charged in this Complaint have been done by Defendants and their
              11
                       co-conspirators, or were authorized, ordered or done by their respective officers, agents,
              12
                       employees or representatives while actively engaged in the management of each Defendant’s or
              13
                       co-conspirator’s business or affairs.
              14
                       V.      TRADE AND COMMERCE
              15
                                        90.   During the Relevant Period, each Defendant, or one or more of its
              16
                       subsidiaries, sold CRT Products in the United States in a continuous and uninterrupted flow of
              17
                       interstate commerce and foreign commerce, including through and into this judicial district.
              18
                                        91.   During the Relevant Period, Defendants and their co-conspirators
              19
                       collectively controlled a vast majority of the market for CRT Products, both globally and in the
              20
                       United States.
              21
                                        92.   The business activities of Defendants substantially affected interstate trade
              22
                       and commerce in the United States, caused antitrust injury in the United States, and restrained
              23
                       competition.     The business activities of Defendants also substantially affected trade and
              24
                       commerce in Arizona, California, Florida, Illinois, Iowa, Kansas, Michigan, Minnesota, New
              25
                       York, North Carolina, and Wisconsin, and caused antitrust injuries and restrained competition in
              26
                       these states.
              27
                       VI.             FACTUAL ALLEGATIONS
              28
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                   1           A.     CRT Technology
                   2
                                      93.       A CRT has three components: (a) one or more electron guns, each of which
                   3
                       is a series of metallic structures used to generate a beam of electrons; (b) a magnetic or other
                   4
                       deflection system used to aim the electron beam; and (c) a phosphor-coated glass faceplate that
                   5
                       phosphoresces when struck by an electron beam, thereby producing a viewable image.                A
                   6
                       faceplate coated with one color of phosphor produces a monochromatic image, while a faceplate
                   7
                       coated with multiple colors of phosphor produces a polychromatic image. An aperture or shadow
                   8
                       mask—a thin screen of perforated metal—is welded to the faceplate panel and, to produce a color
                   9
                       image, is coated and rinsed multiple times, leaving a surface of thousands of narrow lines of red,
              10
                       green, blue and black.
              11
                                      94.       CRT technology was first developed more than a century ago. The first
              12
                       commercially practical CRT television was made in 1931. However, it was not until RCA
              13
                       Corporation introduced the product at the 1939 World’s Fair that it became widely available to
              14
                       consumers. After that, CRTs became the heart of most display products, including televisions,
              15
                       computer monitors, oscilloscopes, air traffic control monitors and ATMs.
              16
                                      95.       The quality of a CRT itself determines the quality of the CRT display. No
              17
                       external control or feature can make up for a poor quality tube. In this regard, the CRT defines
              18
                       the whole CRT product so that the product is often simply referred to as “the CRT.”
              19
                                      96.       Although there have been refinements and incremental advancements along
              20
                       the way since then, such as the development of thinner CRTs and CRTs with a flat screen, the
              21
                       CRT technology used today is similar to that RCA unveiled in 1939.
              22
                                      97.       CRTs can be subdivided into CDTs and CPTs. As noted above, CPTs are
              23
                       used primarily in televisions and related devices and CDTs are primarily used in computer
              24
                       monitors and similar devices. The primary difference is that CDTs typically yield a higher
              25
                       resolution image requiring more pixels than do CPTs.
              26
                                      98.       CRTs have no independent utility, and have value only as components of
              27
                       other products, such as TVs and computer monitors. The demand for CRTs thus directly derives
              28
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                   1   from the demand for such products.
                   2                     99.    The market for CRTs and the market for the products into which they are
                   3   placed are inextricably linked and intertwined because the CRT market exists to serve the CRT
                   4   Products markets. The markets for CRTs and CRT Products are, for all intents and purposes,
                   5   inseparable in that one would not exist without the other.
                   6                     100.   Target has participated in the market for CRTs through its direct purchases
                   7   from Defendants of CRT Products containing price-fixed CRTs and its purchases of CRT
                   8   Products containing price-fixed CRTs indirectly from non-Defendant original equipment
                   9   manufacturers (“OEM”) and others. Defendants’ unlawful conspiracy has inflated the prices at
              10       which Target bought CRT Products, and Target has been injured thereby and paid supra-
              11       competitive prices for CRT Products.
              12                         101.   Target has participated in the market for products containing CRTs. To the
              13       extent Target indirectly purchased CRTs as part of a CRT Product, Defendants’ and their co-
              14       conspirators’ unlawful conspiracy inflated the prices at which OEMs and others resold CRTs in
              15       these products.
              16                         102.   Target has been injured by paying supra-competitive prices for CRT
              17       Products.
              18              B.         Structure of the CRT Industry
              19
                                         103.   The CRT industry has several characteristics that facilitated a conspiracy,
              20
                       including market concentration, ease of information sharing, the consolidation of manufacturers,
              21
                       multiple interrelated business relationships, significant barriers to entry, heightened price
              22
                       sensitivity to supply and demand forces and homogeneity of products.
              23
                                         1.     Market Concentration
              24
                                         104.   During the Relevant Period, the CRT industry was dominated by relatively
              25
                       few companies. In 2004, Samsung SDI, LGPD (n/k/a LP Displays), MTPD, and Chunghwa,
              26
                       together held a collective 78% share of the global CRT market. The high concentration of market
              27
                       share facilitates coordination because there are fewer cartel members among which to coordinate
              28
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                   1   pricing or allocate markets, and it is easier to monitor the pricing and production of other cartel
                   2   members.
                   3                  2.     Information Sharing
                   4
                                      105.   Because of common membership in trade associations, interrelated
                   5
                       business arrangements such as joint ventures, allegiances between companies in certain countries
                   6
                       and relationships between the executives of certain companies, there were many opportunities for
                   7
                       Defendants and co-conspirators to discuss and exchange competitive information. The ease of
                   8
                       communication was facilitated by the use of meetings, telephone calls, e-mails and instant
                   9
                       messages. Defendants and co-conspirators took advantage of these opportunities to discuss, and
              10
                       agree upon, their pricing for CRTs as alleged below.
              11
                                      3.     Consolidation
              12

              13                      106.   The CRT industry also had significant consolidation during the Relevant

              14       Period, including but not limited to: (a) the creation of LGPD in 2001, which was a joint venture
              15       involving Philips’ and LG Electronics’ CRT businesses; and (b) the 2002 merger of Toshiba’s
              16       and Panasonic’s CRT businesses into MTPD.
              17                      4.     High Costs of Entry Into the Industry
              18
                                      107.   There are significant manufacturing and technological barriers to entry into
              19
                       the CRT industry.     It would require substantial time, resources and industry knowledge to
              20
                       overcome these barriers to entry. It is also extremely unlikely that a new producer would enter
              21
                       the market in light of the declining demand for CRT Products.
              22
                                      108.   During the Relevant Period, the costs of the assembly components, both as
              23
                       a whole and individually, have been generally declining, and, in some periods, declining at a
              24
                       substantial rate. A combination of price discussions and manipulation of the output of CRTs
              25
                       allowed Defendants and co-conspirators to keep prices above where they would have been but for
              26

              27       the conspiracy.

              28
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                   1                  5.      Homogeneity of CRT Products
                   2
                                      109.    CRT Products are commodity-like products which are manufactured in
                   3
                       standardized sizes.   One Defendant’s CRT Product for a particular application, such as a
                   4
                       particular size television set or computer monitor, is substitutable for another’s. Defendants and
                   5
                       co-conspirators sold CRTs primarily on the basis of price.
                   6
                                      110.    It is easier to form and sustain a cartel when the product in question is
                   7
                       commodity-like because it is easier to agree on prices to charge and to monitor those prices once
                   8
                       an agreement is formed.
                   9
                              C.      Pre-Conspiracy Market
              10
                                      111.    The genesis of the CRT conspiracy was in the late 1980s as the CRT
              11
                       Products business became more international and Defendants began serving customers that were
              12
                       also being served by other international companies.          During this period, the employees of
              13

              14       Defendants would encounter employees from their competitors when visiting their customers. A

              15       culture of cooperation developed over the years and these Defendant employees would exchange

              16       market information on production, capacity and customers.

              17                      112.    In the early 1990s, representatives from Samsung SDI, Daewoo,

              18       Chunghwa, and Orion visited each other’s factories in Southeast Asia. During this period, these

              19       producers began to include discussions about price in their meetings.

              20              D.      Defendants’ and Co-Conspirators’ Illegal Agreements
              21
                                      113.    In order to control and maintain profitability during declining demand for
              22
                       CRT Products, Defendants and their co-conspirators have engaged in a contract, combination,
              23
                       trust or conspiracy, the effect of which has been to raise, fix, maintain and/or stabilize the prices
              24
                       at which they sold CRTs to artificially inflated levels from at least March 1, 1995 through at least
              25
                       November 25, 2007.
              26
                                      114.    The CRT conspiracy was effectuated through a combination of group and
              27
                       bilateral meetings. In the formative years of the conspiracy (1995-1996), bilateral discussions
              28
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                   1   were the primary method of communication and took place on an informal, ad hoc basis. During
                   2   this period, representatives from Daewoo, LG Electronics and Samsung SDI visited other
                   3   manufacturers, including Philips, Chunghwa, Thai CRT, Hitachi, Toshiba and Panasonic, to
                   4   discuss increasing prices for CRTs in general and to specific customers. These meetings took
                   5   place in Taiwan, South Korea, Thailand, Japan, Malaysia, Indonesia and Singapore. Samsung
                   6   SDI, LG, and Chunghwa, along with Daewoo, also attended several ad hoc group meetings during
                   7
                       this period. The participants at these group meetings also discussed increasing prices for CRTs.
                   8
                                      115.   As more manufacturers formally entered the conspiracy, group meetings
                   9
                       became more prevalent. Beginning in 1997, group meetings occurred in a more organized,
              10
                       systematic fashion, and a formal system of multilateral and bilateral meetings was put in place.
              11
                                      116.   The overall CRT conspiracy raised and stabilized worldwide and U.S.
              12
                       prices that Defendants and their co-conspirators charged for CRTs.
              13
                                      1.     “Glass Meetings”
              14

              15                      117.   The group meetings among the participants in the CRT price-fixing

              16       conspiracy were referred to as “glass meetings” or “GSM.” Glass meetings were attended by

              17       employees at three general levels of the participant corporations.

              18                      118.   The first level meetings were attended by high level company executives

              19       including CEOs, Presidents, and Vice Presidents, and were known as “top” meetings. Top

              20       meetings occurred less frequently, typically quarterly, and were focused on longer term
              21       agreements and forcing compliance with price fixing agreements. Because attendees at top
              22       meetings had authority as well as more reliable information, these meetings resulted in
              23       agreements. Attendees at top meetings were also able to resolve disputes because they were
              24       decision makers who could make agreements.
              25                      119.   The second level meetings were attended by high level sales managers and
              26
                       were known as “management” meetings. These meetings occurred more frequently, typically
              27
                       monthly, and handled implementation of the agreements made at top meetings.
              28
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                   1                 120.    Finally, the third level meetings were known as “working level” meetings
                   2   and were attended by lower level sales and marketing employees. These meetings generally
                   3   occurred on a weekly or monthly basis and were mostly limited to the exchange of information
                   4   and discussing pricing since the lower level employees did not have the authority to enter into
                   5   agreements. These lower level employees would then transmit the competitive information up the
                   6   corporate reporting chain to those individuals with pricing authority. The working level meetings
                   7
                       also tended to be more regional and often took place near the conspirators’ factories. In other
                   8
                       words, the Taiwanese manufacturers’ employees met in Taiwan, the Korean manufacturers’
                   9
                       employees met in Korea, the Chinese in China, and so on.
              10
                                     121.    The Chinese glass meetings began in 1998 and generally occurred on a
              11
                       monthly basis following a top or management level meeting. The China meetings had the
              12
                       principal purpose of reporting what had been decided at the most recent glass meetings to the
              13
                       Chinese manufacturers. Participants at the Chinese meetings included the manufacturers located
              14
                       in China, such as IRICO and BMCC, as well as the China-based branches of other conspirators,
              15
                       including but not limited to Hitachi Shenzhen, Samsung SDI Shenzhen, Samsung SDI Tianjin,
              16
                       and Chunghwa.
              17
                                     122.    Glass meetings also occurred occasionally in various European countries.
              18
                       Attendees at these meetings included those conspirators which had subsidiaries and/or
              19

              20       manufacturing facilities located in Europe, including Philips, LG Electronics, LP Displays,

              21       Chunghwa, Samsung, Daewoo (usually DOSA attended these meetings on behalf of Daewoo) and

              22       IRICO. Chunghwa also attended these meetings.

              23                     123.    Representatives of the conspirators also attended what were known

              24       amongst members of the conspiracy as “green meetings.” These were meetings held on golf

              25       courses. The green meetings were generally attended by top and management level employees of

              26       the conspirators. During the Relevant Period, glass meetings took place in Taiwan, South Korea,
              27       Europe, China, Singapore, Japan, Indonesia, Thailand, Malaysia, and the United States.
              28
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                   1                 124.    Participants would often exchange competitively sensitive information
                   2   prior to a glass meeting. This included information on inventories, production, sales and exports.
                   3   For some such meetings, where information could not be gathered in advance of the meeting, it
                   4   was brought to the meeting and shared.
                   5                 125.    The glass meetings at all levels followed a fairly typical agenda. First, the
                   6   participants exchanged competitive information such as proposed future CRT pricing, sales
                   7
                       volume, inventory levels, production capacity, exports, customer orders, price trends and
                   8
                       forecasts of sales volumes for coming months. The participants also updated the information they
                   9
                       had provided in the previous meeting. Each meeting had a rotating, designated “Chairman” who
              10
                       would write the information on a white board.         The meeting participants then used this
              11
                       information to discuss and agree upon what price each would charge for CRTs to be sold in the
              12
                       following month or quarter. They discussed and agreed upon target prices, price increases, so-
              13
                       called “bottom” prices and price ranges for CRTs. They also discussed and agreed upon prices of
              14
                       CRTs that were sold to specific customers, and agreed upon target prices to be used in
              15
                       negotiations with large customers. Having analyzed the supply and demand, the participants
              16
                       would also discuss and agree upon production cutbacks.
              17
                                     126.    During periods of oversupply, the focus of the meeting participants turned
              18
                       to making controlled and coordinated price reductions. This was referred to as setting a “bottom
              19

              20       price.”

              21                     127.    The conspiracy included agreements on the prices at which certain

              22       conspirators would sell CRTs to their own corporate subsidiaries and affiliates that manufactured

              23       end products, such as televisions and computer monitors.          The conspirators realized the

              24       importance of keeping the internal pricing to their affiliated OEMs at a high enough level to

              25       support the CRT pricing in the market to other OEMs. In this way, Defendants and their co-

              26       conspirators ensured that all direct purchaser OEMs paid supracompetitive prices for CRTs.
              27                     128.    Each of the participants in these meetings knew, and in fact discussed, the
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                   1   significant impact that the price of CRTs had on the cost of the finished products into which they
                   2   were placed.   The conspirators therefore concluded that in order to make their CRT price
                   3   increases stick, they needed to make the increase high enough that their direct customers (CRT
                   4   TV and monitor makers) would be able to justify a corresponding price increase to their
                   5   customers. In this way, Defendants and their co-conspirators ensured that price increases for
                   6   CRTs were passed on to indirect purchasers of CRT Products.
                   7                  129.   The agreements reached at the glass meetings included:
                   8                          a. agreements on CRT prices, including establishing target prices,
                   9                             “bottom” prices, price ranges and price guidelines;
              10                              b. placing agreed-upon price differentials on various attributes of CRTs,
              11                                 such as quality or certain technical specifications;
              12                              c. agreements on pricing for intra-company CRTs sales to vertically
              13                                 integrated customers;
              14                              d. agreements as to what to tell customers about the reason for a price
              15                                 increase;
              16                              e. agreements to coordinate with competitors that did not attend the group
              17                                 meetings and agreements with them to abide by the agreed-upon
              18                                 pricing;
              19                              f. agreements to coordinate pricing with CRT manufacturers in other
              20                                 geographic markets such as Brazil, Europe and India;
              21                              g. agreements to exchange pertinent information regarding shipments,
              22                                 capacity, production, prices and customers’ demands;
              23                              h. agreements to coordinate uniform public statements regarding
              24                                 available capacity and supply;
              25                              i. agreements to allocate both overall market shares and share of a
              26                                 particular customer’s purchases;
              27                              j. agreements to allocate customers;
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                   1                          k. agreements regarding capacity, including agreements to restrict output
                   2                              and to audit compliance with such agreements; and
                   3                          l. agreements to keep their meetings secret.
                   4                  130.    Efforts were made to monitor each conspirator’s adherence to these
                   5   agreements in a number of ways, including seeking confirmation of pricing both from customers
                   6   and from employees of the conspirators themselves. When cheating did occur, it was addressed
                   7   in at least four ways: 1) monitoring; 2) attendees at the meetings challenging other attendees if
                   8   they did not live up to an agreement; 3) threats to undermine a competitor at one of its principal
                   9   customers; and 4) a recognition of a mutual interest in living up to the target price and living up to
              10       the agreements that had been made.
              11                      131.    From 2005-2007 the group glass meetings became less frequent and
              12       bilateral meetings again became more prevalent.
              13                      2.      Bilateral Discussions
              14
                                      132.    Throughout the Relevant Period, the glass meetings were supplemented by
              15
                       bilateral discussions between various Defendants and their co-conspirators.            The bilateral
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                       discussions were more informal than the group meetings and occurred on a frequent, ad hoc basis,
              17
                       often between the group meetings. These discussions, usually between sales and marketing
              18
                       employees, took the form of in-person meetings, telephone contacts and emails.
              19
                                      133.    During the Relevant Period, in-person bilateral meetings took place in
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                       Malaysia, Indonesia, Taiwan, China, United Kingdom, Singapore, South Korea, Japan, Thailand,
              21
                       Brazil, Mexico, and the United States.
              22
                                      134.    The purpose of the bilateral discussions was to exchange information about
              23
                       past and future pricing, confirm production levels, share sales order information, confirm pricing
              24
                       rumors, and coordinate pricing with manufacturers in other geographic locations, including
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                       Brazil, Mexico, Europe, and the United States.
              26
                                      135.    In order to ensure the efficacy of their global conspiracy, Defendants and
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                       their co-conspirators also used bilateral meetings to coordinate pricing with CRT manufacturers
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                   1   in Brazil, Mexico, and the United States, such as Philips Brazil, Samsung SDI Brazil and
                   2   Samsung SDI Mexico. These Brazilian and Mexican manufacturers were particularly important
                   3   because they served the North American market for CRT Products. As further alleged herein,
                   4   North America was the largest market for CRT televisions and computer monitors during the
                   5   Relevant Period. Because these manufacturers are all wholly-owned and controlled subsidiaries
                   6   of Philips and Samsung SDI, they adhered to the unlawful price-fixing agreements. In this way,
                   7   Defendants and their co-conspirators ensured that prices of all CRTs sold in the United States
                   8   were fixed, raised, maintained and/or stabilized at supracompetitive levels.
                   9                  136.   Defendants and co-conspirators also used bilateral discussions with each
              10       other during price negotiations with customers to avoid being persuaded by customers to cut
              11       prices. The information gained in these communications was then shared with supervisors and
              12       taken into account in determining the price to be offered.
              13                      137.   Bilateral discussions were also used to coordinate prices with CRT
              14       manufacturers that did not ordinarily attend the group meetings, such as Defendant Mitsubishi
              15       and co-conspirators Hitachi, Toshiba, Panasonic and Samtel. It was often the case that in the few
              16       days following a top or management meeting, the attendees at these group meetings would meet
              17       bilaterally with the other conspirators for the purpose of communicating whatever CRT pricing
              18       and/or output agreements had been reached during the meeting. For example, Samsung SDI had a
              19
                       relationship with Hitachi and was responsible for communicating CRT pricing agreements to
              20
                       Hitachi. LG Electronics had a relationship with Toshiba and was responsible for communicating
              21
                       CRT pricing agreements to Toshiba. Similarly, Samsung SDI had regular communications with
              22
                       Defendant Mitsubishi. And Thai CRT had a relationship with Samtel and was responsible for
              23
                       communicating CRT pricing agreements to Samtel. Hitachi, Toshiba and Samtel implemented
              24
                       the agreed-upon pricing as conveyed by Samsung SDI, LG Electronics and Thai CRT. Other
              25
                       times, Hitachi and Toshiba attended the glass meetings. In this way, Hitachi, Toshiba and Samtel
              26
                       participated in the conspiracy to fix prices of CRTs.
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                   1                  3.     Defendants’ and Co-Conspirators’ Participation in Group and
                                             Bilateral Discussions
                   2

                   3                  138.   When Target refers to a corporate family or companies by a single name in

                   4   alleging participation in the conspiracy, Target is alleging that one or more employees or agents

                   5   of entities within the corporate family engaged in conspiratorial meetings or communications on

                   6   behalf of every company in that corporate family.          The individual participants in the

                   7   conspiratorial meetings and communications often did not know the corporate affiliation of their

                   8   counterparts, nor did they distinguish between the entities within a corporate family.       The

                   9   individuals who participated in conspiratorial meetings and communications entered into

              10       agreements on behalf of, and reported these meetings and discussions to, their respective

              11       corporate families. As a result, the entire corporate family was represented. For the Defendants

              12       and co-conspirators identified in the following paragraphs, in many instances their high-ranking

              13       executives participated in the conspiratorial meetings and communications.

              14                              a. Thomson’s Admitted Participation in the CRT Conspiracy

              15                      139.   Thomson has admitted that it participated in the CRT price-fixing

              16       conspiracy.   In its 2011 Annual Report (released in late March 2012), Thomson told its

              17       shareholders and the public:
                                  On January 9, 2008, Thomson/Technicolor received a request under art 18 (2)
              18
                                  of Council Regulation n1/2003 from the European Commission (the “EC”) also
              19                  relating to the CRT industry. Thomson/Technicolor received three further
                                  requests for information from the EC on January 16, 2009, January 19, 2009,
              20                  and September 15, 2009 respectively.           On November 25, 2009,
                                  Thomson/Technicolor received a Statement of Objections (“SO”) from the
              21                  European Commission. On March 3, 2010, Thomson/Technicolor filed its
                                  written response to the “SO.” On May 26 and 27, 2010, Thomson/Technicolor
              22
                                  attended an Oral Hearing together with the other parties and the European
              23                  Commission. Thomson/Technicolor stated that it played a minor role in the
                                  alleged anticompetitive conduct.
              24
                       Technicolor Annual Report 2011, at 226 (emphasis added).            While Target disputes that
              25
                       Thomson’s role in the CRT price-fixing conspiracy was minor and believes the evidence adduced
              26
                       to date demonstrates it was substantial, it cannot be contested that Thomson by its own admission
              27
                       was one of the conspirators.
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                   1                 140.     In December 2012, following an investigation of more than four years, the
                   2   EC released its findings on the CRT price-fixing conspiracy. It found that seven companies,
                   3   including Thomson, participated in cartels lasting “almost ten years, between 1996 and 2006,” to
                   4   fix the prices of CRTs. The EC concluded that “these companies fixed prices, shared markets,
                   5   allocated customers between themselves and restricted their output.” The EC official responsible
                   6   for competition policy described the CRT cartels as “textbook cartels [that] feature all the worst
                   7   kinds of anticompetitive behavior.” Fines totaling €1,470,515,000 were assessed against the
                   8   members of the CRT cartels, including a fine of €38,631,000 against Thomson, an amount which
                   9   was reduced due to Thomson’s cooperation with the EC investigation. The EC investigation
              10       found that the CRT cartels “operated worldwide” and were “among the most organized cartels
              11       that the Commission has investigated.”
              12
                                     141.    After the EC announced its finding that Thomson participated in the CRT
              13
                       price-fixing conspiracy and after Thomson paid the fine imposed by the EC, Thomson again
              14
                       acknowledged its participation in the conspiracy. In its 2012 Annual Report (released in late
              15
                       March 2013), Thomson informed its shareholders and the public that “[f]ollowing the European
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                       Commission decision, purchasers may bring individual claims against the Company seeking
              17
                       compensation for alleged loss suffered as a result of the anti-competitive conduct.” Technicolor
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                       Annual Report 2012, at 216.
              19
                                     142.    Between at least 1995 and 2005, Thomson participated in and/or was a
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                       party to over 15 bilateral meetings and over 25 group meetings, including “green meetings” in the
              21
                       United States, with the Defendants and co-conspirators in which unlawful agreements as to, inter
              22
                       alia, price, output restrictions, and/or customer and market allocation of CRTs occurred. These
              23
                       meetings attended by Thomson occurred in the United States, Europe, Japan, and China, and were
              24
                       also attended by representatives from Samsung SDI, MTPD, LPD, Philips, Toshiba, and
              25
                       Chunghwa, among other co-conspirators.           The purpose of these meetings, and other
              26
                       communications, between Thomson and the co-conspirators was to raise and stabilize the prices
              27
                       and set supply levels of CRTs sold by Thomson and its competitors in North America, including
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                   1   the United States. Documents reflect that these meetings among competitors did not occur in the
                   2   context of a customer-supplier relationship. Thomson also discussed with competitors CRT
                   3   prices, production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns,
                   4   customer allocation, and new product development, including for North American CRTs. A
                   5   substantial number of these meetings were attended by high level sales, operations, and sourcing
                   6   managers from Thomson Consumer and/or Thomson SA. In addition to in-person meetings,
                   7   Thomson also communicated with its competitors over the telephone and by email.              On
                   8   information and belief, Target anticipates additional evidence of Thomson’s conspiratorial
                   9   meetings and/or communications with the Defendants and co-conspirators will be revealed
              10       through discovery of Thomson. As examples of Thomson’s active participation in a conspiracy to
              11       fix CRT prices during the Relevant Period:
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